Case 6:10-cv-01848-JA-KRS Document 18 Filed 03/17/11 Page 1 of 1 PageID 49




                            UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION

  GILBERTO SOTO,

                              Plaintiff,

  -vs-                                             Case No. 6:10-cv-1848-Orl-28KRS

  MONARCH RECOVERY MANAGEMENT,
  INC.,

                        Defendant.
  ______________________________________


                          ORDER OF DISMISSAL WITH PREJUDICE

          Upon consideration of the Joint Stipulation for Dismissal with Prejudice (Doc. No.

  17), and pursuant to Fed. R. Civ. P. 41(a), it is hereby

          ORDERED that this case is dismissed with prejudice. All pending motions are

  DENIED as moot. The Clerk is directed to close this file.

          DONE and ORDERED in Chambers, Orlando, Florida this 17th day of March,

  2011.




  Copies furnished to:

  Counsel of Record
